Filing Case 1:24-cv-23772-PCH Document 1-2 Entered on FLSD Docket 10/01/2024 Page 1 of 11
       # 203247432   E-Filed 07/24/2024 01:57:23 CIRCUIT
                                    MIAMI-DADE   PM      COURT

         Adam Thor & Travis Foster

                 Plaintiffs,

         v.                                                                          CASE NO.:

         FRONTIER AIRLINES, INC., a Colorado
         Corporation,

                 Defendants.
                                                           /


                                                  CIVIL COMPLAINT

                 COMES NOW, Plaintiffs Adam Thor & Travis Foster ("THOR & FOSTER"), together

         by and through their s e l f undersigned, against Defendant FRONTIER AIRLINES, INC.

         ("Defendant" or "FRONTIER"); and in support thereof alleges the following:


                                                   NATURE OF CASE

                 FRONTIER claims they are a passenger friendly budget airline. Plaintiff brings this
         action, to address misrepresentations a n d i l l e g a l a n d f o r c e f u l a c t i o n s t h a t h a v e
         been taken by its              e m p l o y e e s ; in return have been committed by Defendant
         FRONTIER in connection with Defendant's business operations and practices. FRONTIER
         falsely misled the Plaintiffs into believing that they are purchasing a passenger friendly airline
         ticket in which the same rules would apply to all passengers, when, in fact, FRONTIER
         employees change rules as they see fit on a flight which is just one example of their actions being
         fraudulent and unwarranted.


                                             JURISDICITON AND VENUE

         1.              Subject matter jurisdiction is proper in this Court, under 28 U.S.C. § 1332(A)(l).

         The defendant is a corporation, which is domiciled in the State of Colorado. The

         representative Plaintiff is a citizen of the State of Florida, county of Miami Dade.

         2.              Personal jurisdiction and venue in this judicial district are proper in that the

         Defendant has continuous and systemic operations at Miami International Airport ("MIA"),

         which is in Miami, Florida, where the Defendant operates in a manner that violates the law
   consistent
Case          with Plaintiff's allegations
     1:24-cv-23772-PCH         Documentherein.  The conduct
                                           1-2 Entered      hereinDocket
                                                       on FLSD     alleged,10/01/2024
                                                                            which resulted in harm
                                                                                         Page  2 of 11
    to the plaintiffs, occurred in this judicial district.


                                     FACTUAL ALLEGATIONS AND FACTS RELATIVE TO
                                                   PLAINTIFF’S

            1.      The named Plaintiff’s THOR & F O S T E R in this action are citizen’s of the

    United States who reside in Florida, county of Miami Dade.

            1.      A) The Defendant FRONTIER does regular and continuous business in the State

                    of Florida, within this judicial district.
            2.
                    FRONTIER sold airline tickets to THOR and FOSTER on November 2, 2023.

            3.      FRONTIER's flight path was originally from Guatemala City (GUA) to Miami,

                    Florida (MIA) departing at 1:57pm on January 11, 2024 and arriving at 5:34pm

                    on January 11, 2024 (See exhibit 1).

            4.      FRONTIER’s confirmation code was KYLB6P (See exhibit 1).

            5.      FRONTIER changed the flight departure time and arrival time in November,

                    2023. The updated flight time was 2:23am on January 11, 2024 arriving at

                    6:02am on January 11, 2024 (See exhibit 2).

            6.      On January 11, 2024, at approximately 3:30am EST THOR and FOSTER were

                    on the for mentioned FRONTIER Airlines flight 18 from Guatemala City to

                    Miami International Airport. THOR and FOSTER were seated in row 24 seat C

                    and row 25 seat B having respectful conversations with several nearby passengers

                    about the trip we had. FOSTER was sitting next to a lady but her husband was

                    across from her one row up. The husband requested if he can sit next to his wife

                    and FOSTER obliged moving his seat to row 24 seat D. As conversations

                    continued while the airline was working to ready the flight for takeoff FOSTER

                    would occasionally speak with the flight attendant working the rear of the plane

                    (ATTENDANT 2). Neither THOR or FOSTER were able to get her name or

                    employee ID number at the time of any conversation.         ATTENDANT 2 is

                    described as Caucasian around 5 feet tall with blond hair age around mid 30’s.
                ATTENDANT
Case 1:24-cv-23772-PCH    2 would
                       Document 1-2speak to FOSTER
                                      Entered       briefly
                                              on FLSD       as she
                                                       Docket      passed by Page
                                                               10/01/2024     and they
                                                                                   3 of 11

                would engage in a playful game of rock paper scissors. THOR had very little

                communication with ATTENDANT 2 as THOR was sitting listing to music after

                finishing conversations with some passengers. As the plane was taxiing to the

                runway ATTENDANT 2 came up to THOR and said “are you trying to pull a fast

                one by me” but it was said in a joking manner. THOR then stated “I don’t know

                what you are talking about”. ATTENDANT 2 said “oh your seatbelt is not on”

                and continued to joke with THOR about it. THOR wasn’t paying attention and

                didn’t realize the seatbelt was off. To joke back with ATTENDANT 2 THOR

                then stated he didn’t know how to put on the seatbelt and needed help. The

                conversation ended; ATTENDANT 2 looked at the religious necklace THOR was

                wearing then smirked at THOR and walked away as THOR proceeded to place

                the seatbelt on.

          7.    Several minutes later, an unidentified flight attendant (LEAD ATTENDANT)

                that had been working the front of the plane that never came to the back nor had

                contact with THOR or FOSTER suddenly approached with an unwarranted

                question. LEAD ATTENDANT (who refused to give her name but is described

                as Caucasian around 5 feet 6 inches tall with blond hair age around mid 50’s),

                asked if FOSTER was going to be a problem during the flight.           FOSTER

                immediately asked if she was being serious. LEAD ATTENDANT responded

                that she will have us removed from the plane if we didn’t agree to not being a

                problem. THOR stated we won’t be a problem and everything is fine. FOSTER

                then stated that he didn’t know who she was and that she’s been working the front

                the entire time and no one had ever spoken to her. THOR also stated we have no

                idea what is going on and asked what this is about. LEAD ATTENDANT

                suddenly confessed stating that she received a call that we were bothering other

                passengers and were refusing to put on our seatbelts. FOSTER told the flight
                attendant that
Case 1:24-cv-23772-PCH         we were 1-2
                            Document   not bothering
                                            Entered other people
                                                     on FLSD     and to10/01/2024
                                                              Docket    ask those around
                                                                                     Pageabout
                                                                                           4 of 11

                 the positive conversations THOR and FOSTER had been having.             LEAD

                 ATTENDANT then told FOSTER that he had been a problem since he entered

                 the plane.    THOR intervened and said out loud that’s discrimination after

                 watching LEAD ATTENDANT’s tone towards FOSTER who is African

                 American. ATTENDANT 2 was standing there during this conversation and told

                 LEAD ATTENDANT that it wasn’t FOSTER who was doing anything wrong.

                 ATTENDANT 2 stated it was THOR that didn’t put on the seatbelt. LEAD

                 ATTENDANT saw the seatbelt was on THOR and continued her conversation

                 directed at FOSTER, looking to argue and attempt to escalate the conversation.

                 LEAD ATTENDANT stated she did not know who we were and FOSTER then

                 asked the flight attendant why she was discriminating against him and if this

                 continues then she will if she find out who THOR and FOSTER are when we file

                 a complaint to the airline. LEAD ATTENDANT immediately stated loudly that

                 FOSTER threatened her and she said she was calling the captain. FRONTIER's

                 employees decided to make an issue out of nothing to show their power and

                 discrimination towards THOR and FOSTER who are of a different religion and

                 race then the flight attendants.

           8.    After several minutes the flight began to taxi back to the jet bridge with no

                 announcements being made to the passengers. The airline lights were placed

                 back on and minutes later several FRONTIER employees and security boarded

                 the flight.

           9.    What seemed like a great deal of confusion to the airline employees who entered

                 the plane; they eventually made their way to come over and speak to THOR and

                 FOSTER and said to exit the flight. THOR asked to speak to the pilot to explain

                 the lies that were told by LEAD ATTENDANT to him but was denied this.
          10.   During the Document
Case 1:24-cv-23772-PCH     withdrawal 1-2
                                       fromEntered
                                            the FRONTIER
                                                   on FLSDflight,
                                                            DocketTHOR  and FOSTER
                                                                    10/01/2024 Pagewere
                                                                                    5 of 11
                both assaulted by the Frontier employees. If the lead flight attendant felt

                threatened why did she decided to stand immediately in the doorway as both

                plaintiff’s were walking out? (Video evidence will be provide)

          11.   During the withdrawal from the FRONTIER flight, THOR and FOSTER were

                unlawfully detained for 2 hours by FRONTIER employees.

          12.   During the withdrawal from the FRONTIER flight, THOR and FOSTER were

                discriminated against by FRONTIER flight attendant employees. THOR and

                FOSTER were told they were exiting the plane for questioning and they were not

                being kicked off the flight. They were advised the plane was not going to leave

                until the issue was resolved.

          13.   FRONTIER supervisor in Guatemala refused to give the names of LEAD

                ATTENDANT and ATTENDANT 2.

          14.   The same FRONTIER supervisor in Guatemala stated the LEAD ATTENDANT

                did call the captain to have THOR and FOSTER removed.

          15.   After going back through customs and finding out the facts of the altercation, the

                FRONTIER supervisor in Guatemala rebooked THOR and FOSTER for the next

                flight out from Guatemala City (GUA) to Miami, Florida (MIA) departing at

                2:21am on January 12, 2024 and arriving at 6:02am on January 12, 2024 (See

                exhibit 3).

          16.   FRONTIER supervisor in Guatemala booked THOR and FOSTER in emergency

                seating for the above mentioned flight. THOR asked why would FRONTIER

                place the seats in the emergency row if we were a threat or a problem to the

                airline. FRONTIER supervisor in Guatemala stated we were not a threat or a

                problem and we never should have been removed from the flight. The original

                flight had already departed at this time but all employees on the ground were

                trying to grasp why LEAD ATTENDANT and ATTENDANT 2 had acted the

                way they did and their treatment towards passengers THOR and FOSTER. If
                THOR andDocument
Case 1:24-cv-23772-PCH   FOSTER 1-2
                                 truly Entered
                                       threatened
                                                onthe LEAD
                                                   FLSD    ATTENDANT
                                                        Docket 10/01/2024 why would
                                                                           Page 6 of 11

               FRONTIER allow them to board another flight and possibly do that to another

               crew? Why was THOR and FOSTER not immediately refunded and banned from

               FRONTIER? The LEAD ATTENDANT abused her power and authority towards

               THOR and FOSTER by having them kicked off the plane as a show of

               temperament and control.

         17.   THOR and FOSTER boarded the next flight with no delay or concerns and

               arrived in Miami International Airport at the scheduled time. THOR spoke to

               airport police who advised to file a criminal complaint/police report which was

               done online a few weeks later. Report tracking number is T24000247. The

               report was not fully processed because the incident occurred outside of Miami.

         18.   THOR also spoke to FRONTIER employees at Miami International Airport who

               refused to give the names of the flight crew and advised to call the help line. The

               help line also refused the information (See exhibit 4). This information is still

               requested.




                                             COUNTI

       DECEPTIVE OR MISLEADING PRACTICES IN VIOLATION OF FLORIDA'S
      DECEPTIVE AND UNFAIR TRADE PRACTICES ACT, FLA. STAT. § 501.201 ET
                             SEQ. ("FDUTPA")


         1.    Plaintiffs re-allege and incorporate by reference the allegations set forth in each

               preceding paragraph of this Complaint as though fully set forth herein, and further

               states:

         2.    FDUTPA operates to protect consumers from unscrupulous business practices

               such as unfair methods of competition, unconscionable acts or practices, and

               unfair or deceptive acts or practice, in the conduct or trade of a business.
          3.    FRONTIERDocument
Case 1:24-cv-23772-PCH   engaged in1-2
                                    conduct of unconscionable
                                        Entered               acts or
                                                 on FLSD Docket       practices in Page
                                                                   10/01/2024      a manner
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                 which was materially deceptive and misleading to passengers, and this conduct

                 caused harm and damages to Plaintiffs.

          4.     FRONTIER materially misled the Plaintiffs in the manner discussed above,

                 including by failing to conspicuously disclose information.

          5.     As a result of FRONTIER's misrepresentations and omissions, the Plaintiffs

                suffered losses, including funds expended for tickets, unforeseen fees,

                embarrassment, and inconveniences.

          6.     The Plaintiffs received emotional distress, unfair treatment, denial of due

                 process, lack of respect & humiliation. The Plaintiffs seek punitive damages for

                 the above mention acts committed by FRONTIER for its gross misconduct against

                 the public and the Plaintiffs.




                                                  COUNT II

               BREACH OF CONTRACT, UNDER FLORIDA'S COMMON LAW

          1.     Plaintiffs re-allege and incorporate by reference the allegations set forth in each

                 preceding paragraph of this Complaint as though fully set forth herein, and

                 further states:

          2.     FRONTIER represented a s p e c i f i c f l i g h t t i m e a n d d a t e a n d t h e n a f t e r

                 the    purchase        of    the     ticket      this     time   changed      forcing      the

                 Plaintiff’s to be stuck with that new time frame with no other

                 options.

          3.     FRONTIER was also under a contractual obligation to provide the Plaintiffs

                 with other options at no additional cost.

          4.     FRONTIER failed in its obligation to provide the Plaintiffs with this

                 aforesaid information.

          5.     At the time of booking, the Plaintiffs were unaware that they would have to

                 change the trip to meet the change of the flight times.
          6.    FRONTIERDocument
Case 1:24-cv-23772-PCH    breached 1-2
                                    its agreement
                                        Entered onwith
                                                  FLSDthe Plaintiffs
                                                        Docket       when itPage
                                                               10/01/2024    changed
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                the Plaintiffs flight times after they had received payment.

         7.     As a result of FRONTIER's misrepresentation and omissions, the Plaintiffs

                suffered losses, including funds expended on tickets, fees, embarrassment, and

                inconvenience, due to FRONTIER's fraudulent activity.




                                            COUNT III

        FRAUDULENT MISREPRESENTATION, UNDER FLORIDA COMMON LAW

         1.     Plaintiffs re-allege and incorporate by reference the allegations set forth in

               each preceding paragraph of this Complaint as though fully set forth herein, and

               further states:

         2.     While inducing the Plaintiffs to purchase tickets and throughout the contractual

                relationship between the parties, FRONTIER made numerous representations that

                were materially false, and FRONTIER made numerous material omissions.

         3.     FRONTIER's misrepresentations and omissions included but are not limited to:


                •      Having a Lead flight attendant lie to a pilot to remove passengers whom

                       she did not like due to his race and religion;

                •       Having a second flight attendant participant in the same

                        misrepresentations;


         4.     FRONTIER knew, or acted with reckless disregard for the truth, as to all of the

                material misrepresentations that are alleged in this Complaint.

         5.     FRONTIER knew, or acted with reckless disregard for the trust, as to all of the

                material omissions alleged in this Complaint.

         6.     The Plaintiffs' reliance on FRONTIER's misrepresentations and/or omissions

                caused them significant, specific harm and damages, as alleged hereinabove.
         7.     The Plaintiffs
Case 1:24-cv-23772-PCH         received emotional
                            Document              distress,
                                        1-2 Entered         unfair Docket
                                                       on FLSD     treatment, denial of duePage
                                                                           10/01/2024       process,
                                                                                                9 of 11

                     lack of respect & humiliation. The Plaintiffs seek punitive damages for the above

                     mention acts committed by FRONTIER for its gross misconduct against the public

                     and the Plaintiffs.


                                                  COUNTIV

          DISCRIMINATION OF CUSTOMERS, IN VIOLATION OF FLORIDA STATUTES

                      1. Plaintiffs re-allege and incorporate by reference the allegations set forth in

                         each preceding paragraph of this Complaint as though fully set forth herein,

                         and further states:

                      2. Florida laws provide a statutory cause of action for Discrimination against

                         customers that gives the prevailing party a basis of relief to recover fees and

                         punitive damages.

                      3. THOR was discriminated against due to his religion.

                      4. FOSTER was discriminated against due to his race.
   


                             PRAYER FOR RELIEF (AS TO ALL COUNTS)


              WHEREFORE, Plaintiffs ADAM THOR and TRAVIS FOSTER, individually and

       through their self undersigned, hereby respectfully request this Honorable Court find in favor of

       the Plaintiffs, and against Defendant FRONTIER AIRLINES, INC.; and award the following

       relief against Defendant:

              1. Declaratory judgment, under Fla. Stat. Defendant's acts or practices violated

                  the rights of the Plaintiffs due to discrimination, unlawful detention, physical assault,

                  embarrassment;

              2. Order that the Defendant discontinue these same acts or practices;

              3. Order that the Defendant must reimburse the Plaintiffs for actual damages, under

                  Fla. Stat.§§ 501.211(2) and 817.41.
          4. Order that the Document
Case 1:24-cv-23772-PCH      Defendant 1-2
                                      reimburse Plaintiffs
                                           Entered  on FLSDfor any and all
                                                                Docket     ticket costs,Page
                                                                       10/01/2024        costs 10
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               the Plaintiffs incurred related to the purchase of the tickets, and any and all fees

               paid, including but not limited to baggage, seat, and cancellation fees;

            5. Order that the Defendant reimburse the Plaintiffs for all of the fees and costs paid to

               the Defendant, all travel and lodging expenses incurred as a result of the

               Defendant's fraudulent conduct

            6. Order that the Defendant pay all statutory fines, under the laws of Florida, for the

               willful conduct, in an amount of TEN THOUSAND DOLLARS ($10,000.00) for

               each violation under Fla. Stat.;

            7. Order that the Defendant pay for the Plaintiffs' emotional suffering and harm for

               the above mentioned counts;

            8. Order that the Defendant pay the Plaintiffs for all monetary and other losses, as

               permitted by Fla. Stat.§ 501.213;

            9. Require the Defendant to pay statutory fines, costs of suit, and attorneys' fees,

               including those identified under Fla. Stat. § 501.2105;

            10. Punitive damages in an amount of not less than T E N MILLION DOLLARS

               ($10,000,000.00), for the blatant, unwarranted, malicious, and intentional nature

               of the Defendant's gross misconduct, to deter the Defendant and other airlines

               from further similar conduct, as provided for under Fla. Stat. and,

            11. Grant the Plaintiffs any and all other and further relief as this Honorable Court

               may find just and proper.
                   DEMAND
Case 1:24-cv-23772-PCH     FOR JURY
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                                            on FLSD    COUNTS)
                                                    Docket 10/01/2024 Page 11 of 11
          WHEREFORE, the Plaintiffs, Adam Thor & Travis Foster, individually through their

   self undersigned, hereby demand a trial by jury as to all issues so triable.

          DATED: 7/24/2024                                Respectfully submitted,

                                                          _______________________________
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